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UNITED STATES DISTRICT COURT `_ " ‘- \§ `~~\ 0
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WESTERN DISTRICT OF TENNESSEE 451/§ apr 0 c
EASTERN DIVISION J{»P//? rig
JAMES KITTINGER, JUDGMENT lN A CIVIL CASE
Plaintiff,
V.
CORRECTIONS CORPORATION CASE NO: 1:03-1234-3
OF AMERICA, et al.,
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on July 6, 2005, this cause is hereby dismissed With prejudice.

 

THOMAS M. GOULD
Clerk of Court

C,D!Kwt

(By) Deputy Clerk

 

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 37 in
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W. Gaston Fairey

FAIREY PARISE & 1\/[[LLS7 P.A.
P.O. Box 8443

Columbia, SC 29202

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

Robert J. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

J ames 1. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Honorable J. Breen
US DISTRICT COURT

